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 6
 7
                                UNITED STATES DISTRICT COURT
 8
                               CENTRAL DISTRICT OF CALIFORNIA
 9
10                                             Case No.:
      MIGUEL HERNANDEZ,
11                Plaintiff,                   COMPLAINT FOR INJUNCTIVE
                                               RELIEF AND DAMAGES FOR DENIAL
12          vs.                                OF CIVIL RIGHTS OF A DISABLED
                                               PERSON IN VIOLATIONS OF
13
                                               1. AMERICANS WITH DISABILITIES;
14
      HOSN AND HOSN ENTERPRISES,               2. CALIFORNIA’S UNRUH CIVIL
15    INC.; and DOES 1 to 10,                  RIGHTS ACT;
16                Defendants.                  3. CALIFORNIA’S DISABLED
                                               PERSONS ACT;
17
                                               4. CALIFORNIA HEALTH & SAFETY
18                                             CODE;
19                                             5. NEGLIGENCE
20
21
22
23
24          Plaintiff MIGUEL HERNANDEZ (“Plaintiff”) complains of Defendants HOSN

25    AND HOSN ENTERPRISES, INC.; and DOES 1 to 10 (“Defendants”) and alleges as

26    follows:

27    //

28    //



                                        COMPLAINT - 1
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 1                                              PARTIES
 2            1.   Plaintiff is a California resident with a physical disability. Plaintiff suffers
 3    from paraplegia, chronic pain with hypertension secondary to the injury, lumbar strain.
 4    Plaintiff is substantially limited in his ability to walk and requires the use of a wheelchair
 5    at all times when traveling in public.
 6            2.   Defendants are, or were at the time of the incident, the real property owners,
 7    business operators, lessors and/or lessees of the real property for CHEVRON
 8    (“Business”) located at or about 8556 Foothill Blvd., Sunland-Tujunga, California.
 9            3.   The true names and capacities, whether individual, corporate, associate or
10    otherwise of Defendant DOES 1 through 10, and each of them, are unknown to Plaintiff,
11    who therefore sues said Defendants by such fictitious names. Plaintiff will ask leave of
12    Court to amend this Complaint when the true names and capacities have been
13    ascertained. Plaintiff is informed and believes and, based thereon, alleges that each such
14    fictitiously named Defendants are responsible in some manner, and therefore, liable to
15    Plaintiff for the acts herein alleged.
16            4.   Plaintiff is informed and believes, and thereon alleges that, at all relevant
17    times, each of the Defendants was the agent, employee, or alter-ego of each of the other
18    Defendants, and/or was acting in concert with each of the other Defendants, and in doing
19    the things alleged herein was acting with the knowledge and consent of the other
20    Defendants and within the course and scope of such agency or employment relationship.
21            5.   Whenever and wherever reference is made in this Complaint to any act or
22    failure to act by a defendant or Defendants, such allegations and references shall also be
23    deemed to mean the acts and failures to act of each Defendant acting individually, jointly
24    and severally.
25                                  JURISDICTION AND VENUE
26            6.   The Court has jurisdiction of this action pursuant to 28 USC §§ 1331 and
27    1343 for violation of the Americans with Disabilities Act of 1990, (42 USC §12101, et
28    seq.)



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 1          7.     Pursuant to pendant jurisdiction, attendant and related causes of action,
 2    arising from the same nucleus of operating facts, are also brought under California law,
 3    including, but not limited to, violations of California Civil Code §§51, 51.5, 52(a), 52.1,
 4    54, 54., 54.3 and 55.
 5          8.     Plaintiff’s claims are authorized by 28 USC §§ 2201 and 2202.
 6          9.     Venue is proper in this court pursuant to 28 USC §1391(b). The real
 7    property which is the subject of this action is located in this district, Los Angeles County,
 8    California, and that all actions complained of herein take place in this district.
 9                                   FACTUAL ALLEGATIONS
10          10.    On or about April 1, 2020, Plaintiff went to the Business. On or about May
11    2, 2020, Plaintiff went to the Business again.
12          11.    The Business is a gas station and a convenient store business establishment,
13    open to the public, a place of public accommodation and affects commerce through its
14    operation.
15          12.    While attempting to enter the Business during each visit, Plaintiff personally
16    encountered a number of barriers that interfered with his ability to use and enjoy the
17    goods, services, privileges, and accommodations offered at the Business.
18          13.    To the extent of Plaintiff’s personal knowledge, the barriers at the Business
19    included, but were not limited to, the following:
20                 a.     Defendants failed to comply with the federal and state standards for
21                        the parking space designated for persons with disabilities. Defendants
22                        failed to post required signage such as “Van Access” or “Minimum
23                        Fine $250.”
24                 b.     Defendant failed to maintain the parking space designated for persons
25                        with disabilities to comply with the federal and state standards.
26                        Defendants failed to provide the access aisles with level surface
27                        slopes.
28




                                             COMPLAINT - 3
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 1                 c.     Defendants failed to maintain the parking space designated for
 2                        persons with disabilities to comply with the federal and state
 3                        standards. Defendants failed to provide proper van accessible space
 4                        designated for the persons with disabilities.
 5                 d.     Defendants failed to maintain the parking space designated for
 6                        persons with disabilities to comply with the federal and state
 7                        standards. Defendants failed to mark the space with the International
 8                        Symbol of Accessibility.
 9          14.    These barriers and conditions denied Plaintiff the full and equal access to the
10    Business and caused him difficulty and frustration. Plaintiff wishes to return and
11    patronize the Business, however, Plaintiff is deterred from visiting the Business because
12    his knowledge of these violations prevents him from returning until the barriers are
13    removed.
14          15.    Based on the violations, Plaintiff alleges, on information and belief, that
15    there are additional barriers to accessibility at the Business after further site inspection.
16    Plaintiff seeks to have all barriers related to his disability remedied. See Doran v. 7-
17    Eleven, Inc. 524 F.3d 1034 (9th Cir. 2008).
18          16.    In addition, Plaintiff alleges, on information and belief, that Defendants
19    knew that particular barriers render the Business inaccessible, violate state and federal
20    law, and interfere with access for the physically disabled.
21          17.    At all relevant times, Defendants had and still have control and dominion
22    over the conditions at this location and had and still have the financial resources to
23    remove these barriers without much difficulty or expenses to make the Business
24    accessible to the physically disabled in compliance with ADDAG and Title 24
25    regulations. Defendants have not removed such barriers and have not modified the
26    Business to conform to accessibility regulations.
27    //
28    //



                                             COMPLAINT - 4
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 1                                    FIRST CAUSE OF ACTION
 2        VIOLATION OF THE AMERICANS WITH DISABILITIES ACT OF 1990
 3          18.    Plaintiff incorporates by reference each of the allegations in all prior
 4    paragraphs in this complaint.
 5          19.    Under the Americans with Disabilities Act of 1990 (“ADA”), no individual
 6    shall be discriminated against on the basis of disability in the full and equal enjoyment of
 7    the goods, services, facilities, privileges, advantages, or accommodations of any place of
 8    public accommodation by any person who owns, leases, or leases to, or operates a place
 9    of public accommodation. See 42 U.S.C. § 12182(a).
10          20.    Discrimination, inter alia, includes:
11                 a.    A failure to make reasonable modification in policies, practices, or
12                       procedures, when such modifications are necessary to afford such
13                       goods, services, facilities, privileges, advantages, or accommodations
14                       to individuals with disabilities, unless the entity can demonstrate that
15                       making such modifications would fundamentally alter the nature of
16                       such goods, services, facilities, privileges, advantages, or
17                       accommodations. 42 U.S.C. § 12182(b)(2)(A)(ii).
18                 b.    A failure to take such steps as may be necessary to ensure that no
19                       individual with a disability is excluded, denied services, segregated or
20                       otherwise treated differently than other individuals because of the
21                       absence of auxiliary aids and services, unless the entity can
22                       demonstrate that taking such steps would fundamentally alter the
23                       nature of the good, service, facility, privilege, advantage, or
24                       accommodation being offered or would result in an undue burden. 42
25                       U.S.C. § 12182(b)(2)(A)(iii).
26                 c.    A failure to remove architectural barriers, and communication barriers
27                       that are structural in nature, in existing facilities, and transportation
28                       barriers in existing vehicles and rail passenger cars used by an



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 1                        establishment for transporting individuals (not including barriers that
 2                        can only be removed through the retrofitting of vehicles or rail
 3                        passenger cars by the installation of a hydraulic or other lift), where
 4                        such removal is readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv).
 5                 d.     A failure to make alterations in such a manner that, to the maximum
 6                        extent feasible, the altered portions of the facility are readily
 7                        accessible to and usable by individuals with disabilities, including
 8                        individuals who use wheelchairs or to ensure that, to the maximum
 9                        extent feasible, the path of travel to the altered area and the
10                        bathrooms, telephones, and drinking fountains serving the altered
11                        area, are readily accessible to and usable by individuals with
12                        disabilities where such alterations to the path or travel or the
13                        bathrooms, telephones, and drinking fountains serving the altered
14                        area are not disproportionate to the overall alterations in terms of cost
15                        and scope. 42 U.S.C. § 12183(a)(2).
16          21.    Where parking spaces are provided, accessible parking spaces shall be
17    provided. 1991 ADA Standards § 4.1.2(5); 2010 ADA Standards § 208. One in every
18    eight accessible spaces, but not less than one, shall be served by an access aisle 96 in
19    (2440 mm) wide minimum and shall be designated “van accessible.” 1991 ADA
20    Standards § 4.1.2(5)(b). For every six or fraction of six parking spaces, at least one shall
21    be van parking space. 2010 ADA Standards § 208.2.4.
22          22.    Under the ADA, the method and color of marking are to be addressed by
23    State or local laws or regulations. See 36 C.F.R., Part 1191. Under the California
24    Building Code (“CBC”), the parking space identification signs shall include the
25    International Symbol of Accessibility. Parking identification signs shall be reflectorized
26    with a minimum area of 70 square inches. Additional language or an additional sign
27    below the International Symbol of Accessibility shall state “Minimum Fine $250.” A
28    parking space identification sign shall be permanently posted immediately adjacent and



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 1    visible from each parking space, shall be located with its centerline a maximum of 12
 2    inches from the centerline of the parking space and may be posted on a wall at the
 3    interior end of the parking space. See CBC § 11B-502.6, et seq.
 4          23.    Moreover, an additional sign shall be posted either in a conspicuous place at
 5    each entrance to an off-street parking facility or immediately adjacent to on-site
 6    accessible parking and visible from each parking space. The additional sign shall not be
 7    less than 17 inches wide by 22 inches high. The additional sign shall clearly state in
 8    letters with a minimum height of 1 inch the following: “Unauthorized vehicles parked in
 9    designated accessible spaces not displaying distinguishing placards or special license
10    plates issued for persons with disabilities will be towed always at the owner’s expense…”
11    See CBC § 11B-502.8, et seq.
12          24.    Here, Defendants failed to provide signs stating “Van Accessible” or
13    “Minimum Fine $250.”
14          25.    For the parking spaces, access aisles shall be marked with a blue painted
15    borderline around their perimeter. The area within the blue borderlines shall be marked
16    with hatched lines a maximum of 36 inches (914 mm) on center in a color contrasting
17    with that of the aisle surface, preferably blue or white. The words "NO PARKING" shall
18    be painted on the surface within each access aisle in white letters a minimum of 12 inches
19    (305 mm) in height and located to be visible from the adjacent vehicular way. CBC §
20    11B-502.3.3.
21          26.    Here, Defendants failed to properly maintain the access aisles as there was
22    no “NO PARKING” or faded blue lines painted on the parking surface. Moreover,
23    Defendants failed to provide the access aisle with the minimum width of 96 inches.
24          27.    Under the 1991 Standards, parking spaces and access aisles must be level
25    with surface slopes not exceeding 1:50 (2%) in all directions. 1991 Standards § 4.6.2.
26    Accessible parking spaces shall be at least 96 in (2440 mm) wide. Parking access aisles
27    shall be part of an accessible route to the building or facility entrance and shall comply
28    with 4.3. Two accessible parking spaces may share a common access aisle. Parked



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 1    vehicle overhangs shall not reduce the clear width of an accessible route. Parking spaces
 2    and access aisles shall be level with surface slopes not exceeding 1:50 (2%) in all
 3    directions. 1991 Standards § 4.6.3.
 4          28.      Here, the access aisles are not level with the parking spaces. Under the 2010
 5    Standards, access aisles shall be at the same level as the parking spaces they serve.
 6    Changes in level are not permitted. 2010 Standards § 502.4. “Access aisles are required
 7    to be nearly level in all directions to provide a surface for transfer to and from vehicles.”
 8    2010 Standards § 502.4 Advisory. Id. No more than a 1:48 slope is permitted.
 9          29.      The surface of each accessible car and van space shall have surface
10    identification complying with either of the following options: The outline of a profile
11    view of a wheel chair with occupant in white on a blue background a minimum 36” wide
12    by 36” high (914 mm x 914 mm). The centerline of the profile view shall be a maximum
13    of 6 inches (152 mm) from the centerline of the parking space, its sides parallel to the
14    length of the parking space and its lower side or corner aligned with the end of the
15    parking space length or by outlining or painting the parking space in blue and outlining
16    on the ground in white or a suitable contrasting color a profile view of a wheel chair with
17    occupant. See CBC § 11B-502.6.4, et seq.
18          30.      Here, Defendants failed to paint the International Symbol of Accessibility on
19    the surface as required.
20          31.      A public accommodation shall maintain in operable working condition those
21    features of facilities and equipment that are required to be readily accessible to and usable
22    by persons with disabilities by the Act or this part. 28 C.F.R. 35.211(a).
23          32.      By failing to maintain the facility to be readily accessible and usable by
24    Plaintiff, Defendants are in violation of Plaintiff’s rights under the ADA and its related
25    regulations.
26          33.      The Business has denied and continues to deny full and equal access to
27    Plaintiff and to other people with disabilities. Plaintiff has been and will continue to be
28    discriminated against due to the lack of accessible facilities, and therefore, seeks



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 1    injunctive relief to alter facilities to make such facilities readily accessible to and usable
 2    by individuals with disabilities.
 3                                  SECOND CAUSE OF ACTION
 4                    VIOLATION OF THE UNRUH CIVIL RIGHTS ACT
 5          34.    Plaintiff incorporates by reference each of the allegations in all prior
 6    paragraphs in this complaint.
 7          35.    California Civil Code § 51 states, “All persons within the jurisdiction of this
 8    state are free and equal, and no matter what their sex, race, color, religion, ancestry,
 9    national origin, disability, medical condition, genetic information, marital status, sexual
10    orientation, citizenship, primary language, or immigration status are entitled to the full
11    and equal accommodations, advantages, facilities, privileges, or services in all business
12    establishments of every kind whatsoever.”
13          36.    California Civil Code § 52 states, “Whoever denies, aids or incites a denial,
14    or make any discrimination or distinction contrary to Section 51, 515, or 51.6, is liable
15    for each and every offense for the actual damages, and any amount that may be
16    determined by a jury, or a court sitting without a jury, up to a maximum of three times the
17    amount of actual damage but in no case less than four thousand dollars ($4,000) and any
18    attorney’s fees that may be determined by the court in addition thereto, suffered by any
19    person denied the rights provided in Section 51, 51.5, or 51.6.
20          37.    California Civil Code § 51(f) specifies, “a violation of the right of any
21    individual under federal Americans with Disabilities Act of 1990 (Public Law 101-336)
22    shall also constitute a violation of this section.”
23          38.    The actions and omissions of Defendants alleged herein constitute a denial
24    of full and equal accommodation, advantages, facilities, privileges, or services by
25    physically disabled persons within the meaning of California Civil Code §§ 51 and 52.
26    Defendants have discriminated against Plaintiff in violation of California Civil Code §§
27    51 and 52.
28




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 1           39.    The violations of the Unruh Civil Rights Act caused Plaintiff to experience
 2     difficulty, discomfort, or embarrassment. The Defendants are also liable for statutory
 3     damages as specified in California Civil Code §55.56(a)-(c).
 4                                   THIRD CAUSE OF ACTION
 5                 VIOLATION OF CALIFORNIA DISABLED PERSONS ACT
 6           40.    Plaintiff incorporates by reference each of the allegations in all prior
 7     paragraphs in this complaint.
 8           41.    California Civil Code § 54.1(a) states, “Individuals with disabilities shall be
 9     entitled to full and equal access, as other members of the general public, to
10     accommodations, advantages, facilities, medical facilities, including hospitals, clinics,
11     and physicians’ offices, and privileges of all common carriers, airplanes, motor vehicles,
12     railroad trains, motorbuses, streetcars, boats, or any other public conveyances or modes
13     of transportation (whether private, public, franchised, licensed, contracted, or otherwise
14     provided), telephone facilities, adoption agencies, private schools, hotels, loading places,
15     places of public accommodations, amusement, or resort, and other places in which the
16     general public is invited, subject only to the conditions and limitations established by
17     law, or state or federal regulation, and applicable alike to all persons.
18           42.    California Civil Code § 54.3(a) states, “Any person or persons, firm or
19     corporation who denies or interferes with admittance to or enjoyment of public facilities
20     as specified in Sections 54 and 54.1 or otherwise interferes with the rights of an
21     individual with a disability under Sections 54, 54.1 and 54.2 is liable for each offense for
22     the actual damages, and any amount as may be determined by a jury, or a court sitting
23     without a jury, up to a maximum of three times the amount of actual damages but in no
24     case less than one thousand dollars ($1,000) and any attorney’s fees that may be
25     determined by the court in addition thereto, suffered by any person denied the rights
26     provided in Section 54, 54.1, and 54.2.
27           43.    California Civil Code § 54(d) specifies, “a violation of the right of an
28     individual under Americans with Disabilities Act of 1990 (Public Law 101-336) also



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 1     constitute a violation of this section, and nothing in this section shall be construed to limit
 2     the access of any person in violation of that act.
 3           44.    The actions and omissions of Defendants alleged herein constitute a denial
 4     of full and equal accommodation, advantages, and facilities by physically disabled
 5     persons within the meaning of California Civil Code § 54. Defendants have
 6     discriminated against Plaintiff in violation of California Civil Code § 54.
 7           45.    The violations of the California Disabled Persons Act caused Plaintiff to
 8     experience difficulty, discomfort, and embarrassment. The Defendants are also liable for
 9     statutory damages as specified in California Civil Code §55.56(a)-(c).
10                                  FOURTH CAUSE OF ACTION
11                  CALIFORNIA HEALTH & SAFETY CODE § 19955, et seq.
12           46.    Plaintiff incorporates by reference each of the allegations in all prior
13     paragraphs in this complaint.
14           47.    Plaintiff and other similar physically disabled persons who require the use of
15     a wheelchair are unable to use public facilities on a “full and equal” basis unless each
16     such facility is in compliance with the provisions of California Health & Safety Code §
17     19955 et seq. Plaintiff is a member of the public whose rights are protected by the
18     provisions of California Health & Safety Code § 19955 et seq.
19           48.    The purpose of California Health & Safety Code § 1995 et seq. is to ensure
20     that public accommodations or facilities constructed in this state with private funds
21     adhere to the provisions of Chapter 7 (commencing with Section 4450) of Division 5 of
22     Title 1 of the Government Code. The code relating to such public accommodations also
23     require that “when sanitary facilities are made available for the public, clients, or
24     employees in these stations, centers, or buildings, they shall be made available for
25     persons with disabilities.
26           49.    Title II of the ADA holds as a “general rule” that no individual shall be
27     discriminated against on the basis of disability in the full and equal enjoyment of goods
28     (or use), services, facilities, privileges, and accommodations offered by any person who



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 1     owns, operates, or leases a place of public accommodation. 42 U.S.C. § 12182(a).
 2     Further, each and every violation of the ADA also constitutes a separate and distinct
 3     violation of California Civil Code §§ 54(c) and 54.1(d), thus independently justifying an
 4     award of damages and injunctive relief pursuant to California law, including but not
 5     limited to Civil Code § 54.3 and Business and Professions Code § 17200, et seq.
 6                                     FIFTH CAUSE OF ACTION
 7                                           NEGLIGENCE
 8            50.    Plaintiff incorporates by reference each of the allegations in all prior
 9     paragraphs in this complaint.
10            51.    Defendants have a general duty and a duty under the ADA, Unruh Civil
11     Rights Act and California Disabled Persons Act to provide safe and accessible facilities
12     to the Plaintiff.
13            52.    Defendants breached their duty of care by violating the provisions of ADA,
14     Unruh Civil Rights Act and California Disabled Persons Act.
15            53.    As a direct and proximate result of Defendants’ negligent conduct, Plaintiff
16     has suffered damages.
17                                       PRAYER FOR RELIEF
18            WHEREFORE, Plaintiff respectfully prays for relief and judgment against
19     Defendants as follows:
20            1.     For preliminary and permanent injunction directing Defendants to comply
21     with the Americans with Disability Act and the Unruh Civil Rights Act;
22            2.     Award of all appropriate damages, including but not limited to statutory
23     damages, general damages and treble damages in amounts, according to proof;
24            3.     Award of all reasonable restitution for Defendants’ unfair competition
25     practices;
26            4.     Reasonable attorney’s fees, litigation expenses, and costs of suit in this
27     action;
28            5.     Prejudgment interest pursuant to California Civil Code § 3291; and



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 1           6.     Such other and further relief as the Court deems just and proper.
 2
 3                                DEMAND FOR TRIAL BY JURY
 4           Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff hereby
 5     demands a trial by jury on all issues so triable.
 6
 7     Dated: September 2, 2020                       SO. CAL. EQUAL ACCESS GROUP
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 9
10                                             By:   _/s/ Jason J. Kim___________
                                                     Jason J. Kim, Esq.
11                                             Attorneys for Plaintiff
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